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                            UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


ADREE EDMO (a/k/a MASON EDMO),              Case No.: 1:17-cv-00151-BLW

                   Plaintiff,
                                             PLAINTIFF’S NOTICE OF MOTION AND
       v.                                    MOTION FOR PRELIMINARY INJUNCTION
                                             AND MEMORANDUM OF POINTS AND
IDAHO DEPARTMENT OF                          AUTHORITIES IN SUPPORT THEREOF
CORRECTION; HENRY ATENCIO, in his
official capacity; JEFF ZMUDA, in his
official capacity; HOWARD KEITH              Complaint Filed:        April 6, 2017
YORDY, in his official and individual        Discovery Cut-Off:      None Set
capacities; CORIZON, INC.; SCOTT             Motion Cut-Off:         None Set
ELIASON; MURRAY YOUNG; RICHARD               Trial Date:             None Set
CRAIG; RONA SIEGERT; CATHERINE
WHINNERY; and DOES 1-15;

                 Defendants.




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TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that Plaintiff, through her counsel of record, hereby moves the

Court for the issuance of a preliminary injunction: 1) ordering Defendants to provide her

immediate access to necessary medical treatment, including (a) sex-reassignment surgery; (b)

reinstatement of spironolactone, or an equivalent type of care; (c) access to gender-appropriate

underwear, clothing, and commissary items; (d) any other treatment a medical professional

qualified to assess and treat gender dysphoria determines to be medically urgent; and 2)

prohibiting Defendants from (a) implementing their policy and/or practice of blanket denial of

access to such treatment for transgender persons incarcerated in the Idaho Department of

Corrections; and (b) disciplining or retaliating against Plaintiff for expressing her gender

identity, including wearing gender-appropriate underwear and clothing, and adhering to female

grooming standards with regards to makeup and hair styling.

       This motion is based on this Notice of Motion and Motion, the memorandum of points

and authorities filed herewith, the Declarations of Adree Edmo, Dr. Randi Ettner, Dr. Nick

Gorton, and Lori Rifkin filed in support of this Motion, and all pleadings and files on record in

this action, as well as any oral argument and evidence that may be presented at any hearing on

this motion.



Dated: June 1, 2018                           Respectfully Submitted,
                                              NATIONAL CENTER FOR LESBIAN RIGHTS
                                              FERGUSON DURHAM
                                              HADSELL STORMER & RENICK LLP


                                              By:    /s/ - Lori E. Rifkin
                                                     Lori E. Rifkin
                                              Attorneys for Plaintiff




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                                        INTRODUCTION
         Plaintiff Adree Edmo moves for a preliminary injunction to address Defendants’ failure

to appropriately treat her serious medical condition of gender dysphoria. Two of the preeminent

experts in the treatment of gender dysphoria have now evaluated Ms. Edmo and determined that

Defendants’ denial of necessary treatment causes her to suffer life-threatening physical and

psychological harm. Ms. Edmo has already attempted to self-castrate twice in the absence of

necessary treatment, and she will suffer irreparable harm in the absence of preliminary relief.

                                    PROCEDURAL STATUS

         Ms. Edmo filed her original complaint in this case in pro per on April 6, 2017 seeking

injunctive relief as well as damages for, inter alia, Defendants’ failure to provide her timely

access to necessary medical treatment for her gender dysphoria. On April 14, 2017, the Court

issued an Initial Screening Order permitting Ms. Edmo to move forward on many of her claims.

In the fall of 2017, Ms. Edmo obtained counsel to represent her and filed a Second Amended

Complaint on September 1, 2017. Defendants then filed a Motion for Dispositive Relief on

November 1, 2017, for which the Court heard oral arguments on April 4, 2018.

         Since filing the Second Amended Complaint, Ms. Edmo’s counsel sought access from

Defendants to her medical records in order to assess the urgency of Ms. Edmo’s medical needs.

Defendants refused to produce these records until the end of May 2018. Declaration of Lori

Rifkin in Support of Plaintiff’s Motion for a Preliminary Injunction (“Rifkin Decl.”) ¶ 2.

However, because of the gravity of Ms. Edmo’s medical condition, Ms. Edmo’s counsel retained

two highly qualified medical experts to evaluate Ms. Edmo and review the incomplete medical

records accessible by Ms. Edmo. Id. ¶ 3. Based on the assessments of these experts, 1 Plaintiff
now moves the Court for a preliminary injunction 1) ordering Defendants to provide her

immediate access to necessary medical treatment, including sex-reassignment surgery; and 2)

prohibiting Defendants from enforcing their policy and/or practice of blanket denial of such

1
 The expert declarations of Dr. Randi Ettner (“Ettner Decl.”) and Dr. Nicholas Gorton (“Gorton
Decl.”) are attached as Exhibits 1 and 2, respectively, to the Declaration of Lori Rifkin,
submitted concurrently. Rifkin Decl. ¶¶ 4-5 & Exhs. 1-2.

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treatment for transgender persons incarcerated in the Idaho Department of Corrections.

                                    STATEMENT OF FACTS
Plaintiff’s History of Gender Dysphoria

       Ms. Edmo is a transgender woman—an individual whose female gender identity differs

from the male sex assigned to her at birth. SAC ¶ 1. Prior to being incarcerated, Ms. Edmo lived

full-time as a woman. Id. ¶¶ 3, 39. Ms. Edmo has been incarcerated since April 2012. Id. ¶ 1.

In July 2012, Defendants diagnosed Ms. Edmo with gender dysphoria, a serious medical

condition characterized by marked incongruence between the sex assigned at birth and a person’s

gender identity, strong cross-gender identification, and clinically significant distress or

impairment of functioning. Ettner Decl. ¶¶ 17, 35-36; SAC ¶¶ 1, 40.

       From the time Ms. Edmo was a very young child, she understood herself to be a girl.

Declaration of Adree Edmo in Support of Plaintiff’s Motion for a Preliminary Injunction (“Edmo

Decl.”) ¶ 3. She describes her female gender identity as something she “never questioned . . . it’s

always been this way as long as I can remember.” Ettner Decl. ¶ 15. Ms. Edmo assumed she

would grow up to be as feminine as her older sisters, and her body would develop as theirs did

rather than like that of her older brothers. Ettner Decl. ¶ 15; Edmo Decl. ¶ 3; Gorton Decl. ¶ 29.

She had mostly female friends during her school years and “felt like one of them,” and would

even sometimes use the girls’ restroom in grade school and high school. Gorton Decl. ¶¶ 26, 30.

Ms. Edmo experienced mostly positive support for her gender identity as female from her

immediate family, which she attributes in part to being Native American and growing up on the

Shoshone Bannock reservation, because there is a history in Native American communities of

accepting gender nonconforming people. Id. ¶ 27.

       Ms. Edmo attended public elementary, middle, and high school, and one year of college

at Idaho State University. Ettner Decl. ¶ 13. At around age 11 or 12, Ms. Edmo understood

herself as “a girl in a boy’s body,” although she did not have a word to describe this at the time.

Gorton Decl. ¶ 29. Her transition through puberty was “shocking and very depressing” to her,



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and caused a dramatic increase in her gender dysphoria. Edmo Decl. ¶ 4; Gorton Decl. ¶ 29. As

she moved into her teenage years, however, Ms. Edmo began to feel more confident about

expressing her female identity and began wearing girls’ clothing and makeup to school. Edmo

Decl. ¶ 5. Ms. Edmo’s immediate family and friends remained supportive, although she

experienced some harassment and sexual assault as a result of her gender identity. Gorton Decl.

¶¶ 27-28; Edmo Decl. ¶ 6. By age 21, Ms. Edmo began to live as a woman full-time, using

female pronouns and dressing in women’s clothing. Edmo Decl. ¶ 7; Ettner Decl. ¶ 16; Gorton

Decl. ¶ 33. Living as a woman, Ms. Edmo felt for the first time in her life “like others saw me as

the real person that I am—as the woman I am.” Edmo Decl. ¶ 8.

       Although Ms. Edmo’s incarceration beginning in 2011 impeded her ability to continue

fully living as female, she has continually sought to do so even in the face of repeated disciplinary

consequences, which, in turn, have affected her eligibility for parole. Edmo Decl. ¶¶ 19-20;

Gorton Decl. ¶¶ 37-38. This has included altering the prison-issued male underwear to allow her

to tuck her penis, wearing her hair long and in a traditionally feminine style, and making or

obtaining her own facial make-up, despite IDOC’s refusal to permit her access to women’s

underwear and female commissary items. Edmo Decl. ¶ 19; Gorton Decl. ¶¶ 36-41. In 2012, Ms.

Edmo changed her name socially and in 2013, she legally changed her name. Edmo Decl. ¶ 11.
Standards of Care for Treatment of Gender Dysphoria

       Gender dysphoria is a diagnosable and highly treatable condition recognized by the

American Psychiatric Association and included in the Diagnostic and Statistical Manual of

Mental Disorders, Fifth Edition (“DSM-5”), as well as the World Health Organization’s

International Classification of Diseases-10. SAC ¶ 26; Ettner Decl. ¶ 34; Gorton Decl. ¶ 8. Like

many other medical conditions, gender dysphoria can be ameliorated or cured through medical

treatment. SAC ¶¶ 27-28; Gorton Decl. ¶ 10. The World Professional Association for

Transgender Health (“WPATH”), the leading international organization focused on transgender

health care, has established internationally accepted Standards of Care for the treatment of

gender dysphoria. SAC ¶ 28; Gorton Decl. ¶ 11. The current version of the WPATH Standards

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of Care, Version 7, was published in September 2011, and constitutes the prevailing standard of

care used by medical and mental health professionals treating gender dysphoria. SAC ¶ 28;

Hicklin v. Precynthe, No. 4:16-cv-02357-NCC, Dkt. No. 176, at 5-6 (E.D. Mo. May 22, 2018);

Norsworthy v. Beard, 87 F. Supp. 3d 1164, 1186 (N.D. Cal. 2015) (WPATH Standards of Care

are the accepted standards of treatment for transgender patients); see also De’lonta v. Johnson,

708 F. 3d 520, 522-23 (4th Cir. 2013); Soneeya v. Spencer, 851 F. Supp. 2d 228, 231 (D. Mass.

2012); O’Donnabhain v. Comm’r of Internal Revenue, 134 T.C. 34, 65 (U.S. Tax Ct. 2010).

       The WPATH Standards of Care set forth medical treatment options for gender dysphoria

and require that a competent medical professional with knowledge and expertise in gender

dysphoria evaluate a patient for appropriate and necessary treatment options, which, in addition

to living in accord with the person’s gender identity, may include hormone therapy, surgery to

change primary and/or secondary characteristics, and/or psychotherapy addressing the negative

impact of gender dysphoria and stigma on mental health. SAC ¶¶ 33-36, Ettner Decl. ¶¶ 40-41;

Gorton Decl. ¶¶ 12-16. The Standards “explain that some individuals are unable to obtain relief

from gender dysphoria without surgical intervention, and describe sex-reassignment surgery (or

“SRS”) as ‘essential and medically necessary’ for this group of patients.” Norsworthy, 87 F.

Supp. 3d at 1186 (quoting WPATH Standards of Care at 36); Ettner Decl. ¶¶ 55-56. The

WPATH Standards of Care apply to incarcerated as well as non-incarcerated people. SAC ¶ 36;

Ettner Decl. ¶ 43; Gorton Decl. ¶ 17.

Defendants’ Inadequate Treatment of Plaintiff’s Gender Dysphoria

       Since Defendants diagnosed Ms. Edmo with gender identity disorder—now recognized

as gender dysphoria—in 2012, she has continually sought appropriate treatment, including

access to feminizing hormones, evaluation for and access to sex-reassignment surgery (also

referred to as gender confirmation surgery), and the ability to live as a woman while

incarcerated. SAC ¶ 4; Ettner Decl. ¶ 60; Edmo Decl. ¶¶ 27-28. However, Defendants have

refused to provide Ms. Edmo with sex-reassignment surgery, have not adequately monitored and

adjusted her feminizing hormones, and have denied her access to other medically necessary

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treatments for reducing her gender dysphoria, including being called by her legal name and the

appropriate pronouns and the ability to access and wear appropriate undergarments. SAC ¶¶ 4,

41-44, 49-51, 54; SAC Ex. B, at 39-40, 45; Ettner Decl. ¶¶ 60, 64-70; Gorton Decl. ¶¶ 36-41, 49-

52, 55-65; Edmo Decl. ¶¶ 14, 17, 23, 27-28. Ms. Edmo is harassed by both correctional officers

and other inmates for her appearance, mannerisms, and transitioning body. 2 Edmo Decl. ¶¶ 15-

16. Defendants’ refusal to treat Ms. Edmo as a woman is “a constant reminder that my body

does not match my feeling of being a woman and female” and “torture above and beyond my

prison sentence.” Edmo Decl. ¶¶ 13, 16.

         Although Defendants have provided Ms. Edmo with some feminizing hormones, they

have failed to provide appropriate treatment for her continued severe gender dysphoria and

attendant depression. Ettner Decl. ¶¶ 59-70. Ms. Edmo meets and exceeds the criteria for

medically necessary sex-reassignment surgery as a result of her persistent, well-documented

gender dysphoria and severe distress. Ettner Decl. ¶¶ 65-66; Gorton Decl. ¶¶ 84, 87-88.

However, Defendants’ medical providers are not qualified to assess and treat gender dysphoria

and, even if they were qualified, IDOC policies and/or practices prohibit them from providing

medically necessary and likely life-saving care through a categorical ban on sex-reassignment

surgery. Ettner Decl. ¶ 64; Gorton Decl. ¶¶ 44, 47, 50-54, 73. The notes of several providers

who purportedly treated Ms. Edmo for gender dysphoria show no attempts to assess Ms. Edmo’s

history as a transgender person. Gorton Decl. ¶ 47. The only record in the six years since

Defendants diagnosed Ms. Edmo’s gender dysphoria that could conceivably resemble an

evaluation of Ms. Edmo’s transgender history is a single note by one doctor dated December 14,

2016. Id.

         Defendants are also failing to adequately monitor Ms. Edmo’s hormone regimen and

have inappropriately removed her from one hormone, spironolactone, as a result of elevated

enzyme levels found during Ms. Edmo’s liver function test, even though this hormone is unlikely
2
  Correctional officers also recently threatened Ms. Edmo that she will not be permitted to attend
attorney-client visits if she is wearing makeup and styles her hair in a feminine manner. Rifkin
Decl. ¶ 6.

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to be responsible for Ms. Edmo’s elevated enzyme levels. Ettner Decl. ¶ 70; Gorton Decl. ¶¶ 49-

63. While the proper course in response to abnormal labs is to immediately perform an adequate

history and physical examination, Ms. Edmo’s records contain no evidence of any evaluation to

determine the actual cause of Ms. Edmo’s abnormal liver function test results. Gorton Decl. ¶¶

56, 65.

          In the meantime, the unnecessary withdrawal of Ms. Edmo’s spironolactone means that

she is not receiving the appropriate dosage of feminizing hormones and is therefore experiencing

recurring masculinization. Gorton Decl. ¶ 64. These unexpected and unwanted physical

changes, including rapid facial hair growth and, in particular, the painful enlargement of her

testicles, have considerably worsened Ms. Edmo’s dysphoria and place her at significant risk of

self-surgery or suicide if she does not get the medical treatment she needs. Gorton Decl. ¶ 39,

64; Edmo Decl. ¶ 26.

          Defendants are also violating the Standards of Care by refusing to allow Ms. Edmo

access to female underwear and a gaff (an undergarment commonly worn by transgender women

to minimize the appearance of male genitals), canteen items available to female prisoners, and

safe and effective means of hair removal. Gorton Decl. ¶ 36. These are medically necessary

treatments to ameliorate her gender dysphoria. Ettner Decl. ¶ 69; Gorton Decl. ¶ 92. Moreover,

Defendants have disciplined Ms. Edmo numerous times for actions and behaviors that are

medically necessary for transgender patients, which has exacerbated Ms. Edmo’s gender

dysphoria. Ettner Decl. ¶ 60; Gorton Decl. ¶ 40, 93. For example, Defendants disciplined her

for altering her prison-issued male underwear to resemble women’s underwear or a gaff. Gorton

Decl. ¶ 37. Ms. Edmo reports that her makeshift gaff, which she wears because she is denied

access to both a proper gaff and women’s clothing, has caused redness, swelling, and extreme

pain on several occasions. Id. ¶ 39.

Plaintiff’s Ongoing Substantial Risk of Serious Harm

          As a result of Defendants’ failure to treat her, Ms. Edmo has twice resorted to attempting

auto-castration (removal of the testicles). SAC ¶ 45. This is not an act of self-mutilation or

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intended self-harm, but rather “surgical self-treatment.” Ettner Decl. ¶ 62; Gorton Decl. ¶ 18;

Edmo Decl. ¶ 34. Transgender women without access to appropriate care, particularly those who

are imprisoned, are often so desperate for relief that they resort to life-threatening attempts at

auto-castration in the hopes of eliminating the major source of testosterone that kindles the

distress. Ettner Decl. ¶ 38. However, such self-surgery attempts are extremely dangerous, and

can result in major loss of blood leading to death unless an individual is sent to a hospital in time,

as Ms. Edmo was during her second attempt. Ettner Decl. ¶ 62; Gorton Decl. ¶ 74.

       It is also common for patients like Ms. Edmo, who are in desperate need of medical

treatment, to become more sophisticated in subsequent self-surgery attempts, placing them at

substantial and increasing risk of serious and irreparable harm. Gorton Decl. ¶ 74. After her first

attempt, Ms. Edmo resolved to be successful if she decided to attempt self-surgery again. Edmo

Decl. ¶ 32. To this end, Ms. Edmo prepared for weeks before her second auto-castration

attempt—she studied the anatomy of the scrotum, chose an incision site with a better chance of

success, obtained gauze and alcohol swabs, boiled the razor blade to reduce chances of infection,

and enlisted another inmate to call for help in the event she lost too much blood because she did

not want to die. Gorton Decl. ¶ 74; Edmo Decl. ¶ 33. During her second attempt, Ms. Edmo

made further surgical progress, but abandoned her efforts because the high blood loss prevented

her from being able to see what she was doing. Gorton Decl. ¶ 74. She was taken to the

hospital, where her testicle was repaired without any discussion of possibly removing the nearly-

severed testicle. Id.; Edmo Decl. ¶ 33.

       Dr. Gorton opines that it is medically necessary for Ms. Edmo to be referred to a surgeon

for sex-reassignment surgery immediately, but at minimum within the next six months. Gorton

Decl. ¶ 88. Dr. Gorton explains that Ms. Edmo has “well established and persistent gender

dysphoria, a substantial portion of which is related to her male genitalia,” placing her at high risk

of re-attempting self-surgery or suicide if she is denied this medically necessary care. Id.

       Similarly, Dr. Ettner opines that because having male genitalia generates profound

distress for Ms. Edmo, this anguish is very likely to result in further emotional deterioration and

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self-harm. Ettner Decl. ¶ 61. Dr. Ettner further opines that Ms. Edmo is at great risk for

succumbing to feelings of hopelessness and despair, leading to emotional destabilization and

suicide. Id. ¶ 67. Dr. Ettner also explains that gender dysphoria intensifies with age, which is

consistent with Ms. Edmo’s description of her experience. Id.; Edmo Decl. ¶ 36. Ms. Edmo

scored 11 on the Beck Hopelessness Scale (BHS), relative to a study finding that of outpatients

who ultimately committed suicide, 93.8% had BHS scores of 9 or higher. Ettner Decl. ¶ 30. Ms.

Edmo also scored a 100—the highest score possible—on the Traumatic Symptom Inventory-2

scale that measures suicide ideation and suicide behavior. Id. ¶ 33. Dr. Ettner found this result

“alarming” considering Ms. Edmo’s previous history of suicide attempts and the fact that she is

currently receiving the maximum dose of her anti-depressant medication. Id.

       Indeed, the most significant suicidality Ms. Edmo has experienced while incarcerated

occurred because she felt hopeless after she requested sex-reassignment surgery and was told

that she would “never” get the surgery. Gorton Decl. ¶ 77; Edmo Decl. ¶ 29. Defendants then

placed her on suicide watch, where she was stripped of all her clothes and thus forced to see her

body unclothed—a significant trigger for patients with gender dysphoria, which increased both

her dysphoria and suicidal thoughts. Gorton Decl. ¶ 77; Edmo Decl. ¶ 30.

       Further, Defendants’ mental health providers do not understand the difference between

suicidality, non-suicidal self injury, and self-surgery, and have incorrectly assessed Ms. Edmo’s

self-surgery attempts as either non-suicidal self-injury or suicidality. Gorton Decl. ¶¶ 66-67.

Rather than intended self-harm, Ms. Edmo’s self-surgery is “health-seeking” behavior intended

to remove testosterone from the body, thereby alleviating gender dysphoria. Id. ¶ 67. Ms. Edmo

attempted self-surgery because she was “at a point beyond mental anguish . . . thinking: ‘If I

don’t do this, I won’t be able to keep going.’” Edmo Decl. ¶ 34. Thus, questions routinely asked

by Defendants’ mental health staff, such as whether Ms. Edmo wants to harm or kill herself, are

insufficient to address her high risk for self-surgery. Gorton Decl. ¶ 71; Ettner Decl. ¶¶ 44, 68.

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                                            ARGUMENT

I.      Legal Standard for Preliminary Injunction
        “A plaintiff seeking a preliminary injunction must establish that [s]he is likely to succeed

on the merits, that [s]he is likely to suffer irreparable harm in the absence of preliminary relief,

that the balance of equities tips in [her] favor, and that an injunction is in the public interest.”

Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2009); Pimentel v. Dreyfus, 670 F. 3d

1096, 1105 (9th Cir. 2012) (applying Winter to claim under 42 U.S.C. § 1983). “[S]erious

questions going to the merits and a balance of hardships that tips sharply towards the plaintiff

can support issuance of a preliminary injunction, so long as the plaintiff also shows that there is a
likelihood of irreparable injury and that the injunction is in the public interest.” Alliance for the

Wild Rockies v. Cottrell, 632 F. 3d 1127, 1135 (9th Cir. 2011) (internal quotation marks omitted).

        While preliminary injunctions that order a party to take affirmative action are generally

not granted “unless extreme or very serious damage will result,” see Marlyn Nutraceuticals, Inc.

v. Mucos Pharma GmbH & Co., 571 F. 3d 873, 879 (9th Cir. 2009), this is exactly such a case.

Defendants’ ongoing refusal to provide necessary medical treatment to Ms. Edmo places her at

imminent risk of serious harm. Ms. Edmo has a history of suicide attempts and twice risked her

life in attempts to remove her testicles herself. As set forth in detail infra, and in the

concurrently-submitted declarations, two of the preeminent experts in the field of medical

treatment for patients with gender dysphoria have assessed Ms. Edmo and found Defendants’

failure to appropriately treat her—including their denial of access to sex-reassignment surgery—

to be life-threatening.

II.     Plaintiff Will Succeed on the Merits of Her Claims

        Ms. Edmo moves for preliminary injunctive relief on the basis of her Eighth Amendment

claim for failure to provide adequate and necessary medical treatment for the serious medical

condition of gender dysphoria, and on the basis of her sex discrimination claims under the




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Fourteenth Amendment and the Affordable Care Act. 3 Even at this early procedural stage in the

case, the evidence decisively establishes that Ms. Edmo will succeed on the merits of these claims.

         A.     Defendants Are Denying Plaintiff Medically Necessary Treatment in

                Violation of the Eighth Amendment

         It is well-established that “[d]eliberate indifference to serious medical needs of prisoners

constitutes the ‘unnecessary and wanton infliction of pain’ proscribed by the Eighth

Amendment.” Estelle v. Gamble, 429 U.S. 97, 104 (1976) (internal citation omitted). Deliberate

indifference may be “manifested by prison doctors in their response to the prisoner’s needs or by

prison [officials or] guards in intentionally denying or delaying access to medical care or

intentionally interfering with the treatment once prescribed.” Id. A plaintiff establishes

deliberate indifference by showing a serious medical need such that failure to treat the condition

could result in further significant injury or the unnecessary and wanton infliction of pain, and

showing that a defendant engaged in a purposeful act or failure to respond to this medical need

such that the plaintiff was harmed. Jett v. Penner, 439 F. 3d 1091, 1096 (9th Cir. 2006).

Deliberate indifference may be demonstrated “when prison officials deny, delay or intentionally

interfere with medical treatment, or it may be shown by the way in which prison officials provide

medical care.” Id. (internal quotations and citations omitted).

         Prison officials are liable for violations under the Eighth Amendment when they are

deliberately indifferent to a substantial risk of serious harm to a prisoner, which the Supreme

Court has described as “the equivalent of recklessly disregarding that risk.” Farmer v. Brennan,

511 U.S. 825, 836 (1994). As the United States Supreme Court explained in Farmer,

“[d]eliberate indifference lies somewhere between the poles of negligence at one end and

purpose or knowledge at the other.” 511 U.S. at 836; see also Mandala v. Coughlin, 920 F. Supp.

342, 353 (E.D.N.Y. 1996) (while a showing of medical malpractice or mere negligence does not
3
 Ms. Edmo is also likely to succeed on the merits of her other claims, including her Americans
with Disabilities Act claim. See Pl.’s Response to Defs.’ Mot. for Dispositive Relief, ECF No.
44 at 18-23. However, given that the law on those claims is less clearly established, Plaintiff’s
motion for a preliminary injunction focuses more narrowly on her Eighth Amendment,
Fourteenth Amendment, and ACA claims.

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suffice, neither must a defendant’s act or omission be “for the very purpose of causing harm or

with knowledge that harm will result” (internal quotations and citations omitted)).

       The evidence overwhelmingly shows that Ms. Edmo has a serious medical need

cognizable under the Eighth Amendment. Defendants’ own doctors diagnosed Ms. Edmo with

gender dysphoria, which is recognized by the medical field as a serious medical condition.

Ettner Decl. ¶ 34; Gorton Decl. ¶ 8. Courts have consistently considered gender dysphoria to be

a serious medical condition for the purposes of the Eighth Amendment. E.g., Fields v. Smith,

653 F. 3d 550, 555 (7th Cir. 2011) (discussing cases finding that Gender Identity Disorder is a

“serious medical need” for purposes of the Eighth Amendment); Hicklin v. Precynthe, No. 4:16-

cv-02357-NCC, Dkt. No. 176, at 5 (E.D. Mo. May 22, 2018) (“Gender dysphoria is an

objectively serious medical need.”); Norsthworthy, 87 F. Supp. 3d at 1170. In support of this

motion, Ms. Edmo submits evidence from Dr. Ettner and Dr. Gorton as well as her own

declaration and medical records demonstrating “that, notwithstanding years of treatment in the

form of hormone therapy and counseling, she continues to experience severe symptoms of

gender dysphoria.” Norsworthy, 87 F. Supp. 3d at 1186. These symptoms include severe

“[p]sychological and emotional pain [she] experiences as a result of her gender dysphoria,” that

place her mental and physical health in serious jeopardy and “means that she is unable to

complete her existence or complete who she is.” Id. (internal alterations and quotations omitted).

       Defendants’ failures to appropriately monitor and adjust Ms. Edmo’s feminizing

hormones, assess and provide her access to sex-reassignment surgery, and provide other

medically necessary treatments that allow her to live in accord with her female gender identity—

as well as Defendants’ punishment of Ms. Edmo for expressing her gender identity—put Ms.

Edmo at life-threatening risk. This includes heightened risk of re-attempting self-surgery, and of

emotional destabilization that may lead to other self-harm, including suicide. Ettner Decl. ¶¶ 61,

67; Gorton Decl. ¶ 88.

       The evidence also overwhelmingly establishes that Defendants’ actions and omissions in

denying Plaintiff necessary treatment for her serious medical need are deliberate. Plaintiff has

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repeatedly and exhaustively requested appropriate medical treatment including assessment for

sex-reassignment surgery through every avenue available to her in the prison system, including

filing grievances through IDOC’s administrative grievance process, as well as repeatedly asking

Corizon medical providers for assessments and referrals. Edmo Decl. ¶¶ 27-28; see Norsworthy,

87 F. Supp. 3d at 1189 (“Despite access to the relevant Standards of Care and evidence that SRS

was medically necessary for Norsworthy, Defendants failed to provide her SRS, or to refer her to

a specialist for further evaluation.”) (citing Hoptowit v. Ray, 682 F. 2d 1237, 1253 (9th Cir.

1982)). Defendant IDOC officials and supervisors have not only denied her individual appeals,

Defendants have also adopted and enforced a blanket policy and/or practice prohibiting provision

of sex-reassignment surgery to people incarcerated in IDOC facilities, regardless of whether such

treatment is medically necessary. See Norsworthy, 87 F. Supp. 3d at 1191 (blanket policy

barring sex-reassignment surgery conflicts with requirement that medical care be individualized

based on a particular patient’s needs). Defendants are also actively contesting this lawsuit, while

still refusing to provide Ms. Edmo adequate and necessary medical treatment, further evidencing

the deliberateness of their decisions.

       Defendants have been repeatedly placed on notice of the substantial risk of serious harm

resulting from their ongoing denial of necessary treatment to Ms. Edmo: refusal of such

treatment has resulted in Ms. Edmo twice attempting to perform self-castration and separately

attempting suicide, as well as ongoing serious psychological, emotional, and physical distress.

Farmer, 511 U.S. at 837; see also Lolli v. Cnty. of Orange, 351 F. 3d 410, 421 (9th Cir. 2003)

(“Much like recklessness in criminal law, deliberate indifference to medical needs may be shown

by circumstantial evidence when the facts are sufficient to demonstrate that a defendant actually

knew of a risk of harm.”).

       Defendants’ provision of Ms. Edmo with some treatment for gender dysphoria further

supports her deliberate indifference claim. This partial treatment shows that Defendants

recognize that she has a serious medical condition warranting treatment while also refusing to

provide the medically necessary care her condition requires. See Hicklin, No. 4-16-cv-01357-

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NCC, Dkt. No. 176, at 6 (“providing [only] counseling and/or psychotropic medication to a

severely gender dysphoric patient whose condition warrants medical intervention is a departure

from the [WPATH] standards of care . . . [and] puts a person at serious risk of psychological and

physical harm” in violation of the Eighth Amendment); Norsworthy, F. Supp. 3d at 1187 (“Just

because defendants have provided a prisoner with some treatment consistent with the Standards

of Care, it does not follow that they have necessarily provided her with constitutionally adequate

treatment.”) (internal alterations omitted) (quoting De’lonta v. Johnson, 708 F. 3d 520, 526 (4th

Cir. 2013)); see also Ortiz v. City of Imperial, 884 F. 2d 1312, 1314 (9th Cir. 1989) (a plaintiff

alleging deliberate medical indifference “need not prove complete failure to treat”). Just as

Defendants would be deliberately indifferent if they denied surgery to a patient requiring an

operation and instead simply prescribed the patient painkillers, Defendants’ refusal to provide

Ms. Edmo with access to a crucial medical intervention required to treat her condition constitutes

deliberate indifference to a serious medical need. See Ettner Decl. ¶ 68; Fields, 653 F. 3d at 556

(holding statute barring Wisconsin corrections officials from providing transgender inmates

hormone therapy and sex-reassignment surgery unconstitutional under the Eighth Amendment,

and recognizing that “[r]efusing to provide effective treatment for a serious medical condition

serves no valid penological purpose and amounts to torture”).

       B.      Defendants Are Discriminating Against Plaintiff on the Basis of Sex in

               Violation of the Fourteenth Amendment and the Affordable Care Act

       Defendants’ refusal to provide Ms. Edmo with medically necessary care because she is

transgender discriminates based on sex. Defendants are withholding care from Ms. Edmo based

on their belief that a transgender person should not receive certain medical treatment such as sex-

reassignment surgery and access to traditionally female underwear, despite this treatment being

the accepted standard of care for treating gender dysphoria.

       Discrimination against transgender people constitutes discrimination based on sex.

Schwenk v. Hartford, 204 F. 3d 1187, 1201-02 (9th Cir. 2000); see also Martin v. Barron, 286 F.

Supp. 3d 1131, 1144 (D. Idaho 2018) (“[T]o conclude discrimination based on gender identity or

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transsexual status is not discrimination based on sex is to depart from advanced medical

understanding in favor of archaic reasoning.”). Such discrimination is subject to heightened

scrutiny when evaluating whether it violates the Equal Protection Clause. Whitaker v. Kenosha

Unified Sch. Dist No. 1, 858 F. 3d 1034, 1051 (7th Cir. 2017) (holding that discrimination

against a transgender student is “inherently based upon a sex-classification and heightened

review applies”); Glenn v. Brumby, 663 F. 3d 1312, 1317 (11th Cir. 2011) (“[D]iscrimination

against a transgender individual because her gender-nonconformity is sex discrimination,” under

the Equal Protection Clause, “whether it’s described as being on the basis of sex or gender”);

Smith v. City of Salem, 378 F. 3d 566, 572-73 (6th Cir. 2004) (same); Stockman v. Trump, No.

5:17-cv-01799-JGB-KK, Dkt. No. 79, at 19 (C.D. Cal. Dec. 22, 2017) (applying intermediate

scrutiny to claims of transgender servicemembers as sex-based discrimination); Karnoski v.

Trump, No. C17-1297-MJP, 2017 WL 6311305, at *7 (W.D. Wash. Dec. 11, 2017) (same); Olive

v. Harrington, No. 1:15-cv-01276, 2016 WL 4899177, at *5 (E.D. Cal. Sept. 14, 2016)

(“Discrimination on the basis of transgender status is subject to intermediate scrutiny.”); Marlett

v. Harrington, No. 1:15-cv-01382, 2015 WL 6123613, at *4 (E.D. Cal. Oct. 16, 2015) (same);

Norsworthy, 87 F. Supp. 3d at 1119 (“[D]iscrimination against transgender individuals is a form

of gender-based discrimination subject to intermediate scrutiny under the Equal Protection

Clause”).

       Numerous district courts, including in the District of Idaho and others in the Ninth

Circuit, have also held that “government discrimination based on transgender status is also

discrimination based on a quasi-suspect class and thus is subject to intermediate scrutiny.”

Martin, 286 F. Supp. 3d at 1144; see id. at 1145 (“[I]n Idaho . . . transgender people have no

state constitutional protections from discrimination based on their transgender status in relation

to employment decisions, housing, and other services. Therefore, transgender people bear all of

the characteristics of a quasi-suspect class.”); Norsworthy, 87 F. Supp. 3d at 1119 (“Applying

Schwenk, . . . discrimination based on transgender status independently qualifies as a suspect

classification because transgender people meet the indicia of a ‘suspect’ or ‘quasi-suspect

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classification.’”); Stockman, No. 5:17-cv-01799-JGB-KK, Dkt. No. 79, at 19 (same); Karnoski,

No. C17-1297-MJP, 2017 WL 6311305, at *7 (“The Court concludes that the policy

distinguishes on the basis of transgender status, a quasi-suspect classification, and is therefore

subject to intermediate scrutiny.”); see also Stone v. Trump, 280 F. Supp. 3d 747, 768 (D. Md.

2017); Doe v. Trump, 275 F. Supp. 3d 167, 208 (D.D.C. 2017); A.H. v Minersvile Area School

District, 2017 U.S. Dist. LEXIS 193622 (M.D. Pa. Nov. 22, 2017); Evancho v. Pine-Richland

Sch. Dist., 237 F. Supp. 3d 267, 288 (W.D. Pa. 2017); Adkins v. City of New York, 143 F. Supp.

3d 134, 140 (S.D.N.Y. 2015). Thus, heightened scrutiny applies to Plaintiff’s Equal Protection

claim, whether regarded as a claim based on sex, or also directly based on transgender status.

       Under heightened scrutiny, Defendants have the burden to show that their policy of

denying sex-reassignment surgery and other medically necessary care to transgender people is

substantially related to an important government interest. See, e.g., Martin, 286 F. Supp. 3d at

1142. The asserted governmental justification must be “exceedingly persuasive” and it must be

“genuine, not hypothesized or invented post hoc in response to litigation.” United States v.

Virginia, 518 U.S. 515, 533 (1996). Defendants cannot meet that burden here. There is no

legitimate, much less important, governmental purpose served by denying medically necessary

care to a socially disfavored group of people. See Fields, 653 F. 3d at 556; Norsworthy, 87 F.

Supp. 3d at 1120 (recognizing that Defendants “articulate[d] no important governmental interest”

served by denying access to sex-reassignment surgery). Gender dysphoria is a serious medical

condition; when left untreated, it can result in debilitating harms, including severe depression

and suicidality. Ettner Decl. ¶¶ 34, 37; Gorton Decl. ¶ 10. The treatments for gender dysphoria

are well-established and effective. Ettner Decl. ¶¶ 40-58; Gorton Decl. ¶¶ 11-17. There is no

legitimate government interest in denying transgender prisons access to this life-saving care.

       Defendants’ policy also violates Section 1557 of the Affordable Care Act, which

prohibits covered entities from discriminating based on sex in the provision of health care

services. 42 U.S.C. § 18116. As a health program or activity that receives federal financial

assistance, IDOC is a covered entity subject to the Affordable Care Act’s nondiscrimination

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requirement. The anti-discrimination provisions of the ACA are construed consistently with

those of other federal sex discrimination laws; accordingly, the ACA’s prohibition of

discrimination based on sex prevents differential treatment of transgender patients. See, e.g.,

Prescott v. Rady Children’s Hospital-San Diego, 265 F. Supp. 3d 1090, 1099 (S.D. Cal. 2017).

III.    Plaintiff Is Now Suffering and Will Continue to Suffer Irreparable Harm in the

        Absence of Relief

        Defendants’ refusal to provide Ms. Edmo with medically necessary care is causing her

irreparable harm. As a result of Defendants’ denial of care, Ms. Edmo has attempted suicide and

twice risked her life in attempts to self-castrate. While a plaintiff seeking a preliminary

injunction ordering treatment for gender dysphoria “is not required to demonstrate that she is at

risk of death or imminent self-harm,” Norsworthy, F. Supp. 3d at 1188, Ms. Edmo is at risk of

these outcomes here. Ettner Decl. ¶¶ 30-33, 67; Gorton Decl. ¶ 88.

        In addition to being at risk of death due to suicide or attempts to perform her own

surgical care, Ms. Edmo is also suffering serious psychological harm, which the Ninth Circuit

has repeatedly held constitutes irreparable injury. See, e.g., Chalk v. U.S. Dist. Ct. Cent. Dist. of

California, 840 F. 2d 701, 709 (9th Cir. 1988) (plaintiff’s “emotional stress, depression and

reduced sense of well-being” constituted irreparable harm); Thomas v. Cnty. of Los Angeles, 978

F. 2d 504, 512 (9th Cir. 1992) (“Plaintiffs have also established irreparable harm, based on this

Court’s finding that the deputies’ actions have resulted in irreparable physical and emotional

injuries to plaintiffs and the violation of plaintiffs’ civil rights.”); see also Hernandez v. Cnty. of

Monterey, 110 F. Supp. 3d 929, 956 (N.D. Cal. 2015) (“[P]ain, suffering and the risk of death

constitute irreparable harm sufficient to support a preliminary injunction in prison cases.”)

(internal quotations omitted); Wood v. Cnty. of Alameda, 1995 U.S. Dist. LEXIS 17514, at *46

(N.D. Cal. Nov. 17, 1995) (finding irreparable injury where plaintiff’s “declaration ma[de] clear

that she has suffered feelings of guilt, depression, anxiety, and loss of self-esteem . . .”).

        District courts have specifically recognized that emotional pain and suffering, anxiety,

and depression caused by prison officials’ failure to provide adequate treatment for gender

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dysphoria constitute irreparable harm warranting a preliminary injunction. See, e.g., Hicklin, No.

4:16-cv-02357-NCC, Dkt. No. 176 (granting permanent injunction); Hicklin v. Precynthe, 2018

U.S. Dist. LEXIS 21516, at *29 (concluding that plaintiff would suffer “irreparable harm in the

absence of a preliminary injunction because she suffers from depression, anxiety, and intrusive

thoughts of self-castration as a result of Defendants’ conduct”) (E.D. Mo. Feb. 9, 2018) (“Hicklin

I”); Norsworthy, 87 F. Supp. 3d at 1192 (irreparable injury where plaintiff testified that “she

suffers continued and ‘excruciating’ ‘psychological and emotional pain’ as a result of her gender

dysphoria”). Evidence that an incarcerated person is at “severe risk of self-harm” through self-

castration also supports a finding of irreparable injury. Hicklin I, 2018 U.S. Dist. LEXIS 21516,

at *31 (irreparable injury where plaintiff was at “severe risk of self-harm” in light of evidence

that “she has a history of suicide ideation and has indicated on more than one occasion the

inclination to remove her own testicles”).

       Here, the irreparable harm Ms. Edmo continues to suffer in the absence of necessary

medical treatment is clear. Defendants’ refusal to provide Ms. Edmo access to qualified medical

providers knowledgeable about gender dysphoria, including those who can appropriately

evaluate her for and perform sex-reassignment surgery, causes Ms. Edmo extreme anguish,

anxiety, depression, and stress, and places her at high risk for attempting to castrate herself

again. Gorton Decl. ¶¶ 67, 69, 73, 76, 85-87; Edmo Decl. ¶¶ 27-29, 35-36. This risk is

substantially heightened by the recent enlargement of Ms. Edmo’s testicles, which is a result of

medically unwarranted cessation of her spironolactone. Gorton Decl. ¶ 64; Ettner Decl. ¶ 70.

Ms. Edmo describes “[t]he thought of never being able to have sex-reassignment surgery” as

“too stressful to imagine. I would compare it to telling a cancer patient: ‘This treatment will cure

you, but you can’t have it.’ Without surgery, I feel like I am living, but dying inside.” Edmo

Decl. ¶ 37. Drs. Ettner and Gordon both opine that without sex-reassignment surgery, Ms.

Edmo’s symptoms of gender dysphoria will continue to worsen and the risk that she may resort

to life-threatening self-castration, or another suicide attempt, is significant and “dire.” Ettner

Decl. ¶¶ 67, 71; Gorton Decl. ¶ 88.

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       In addition to these severe emotional, psychological, and physical harms, the deprivation

of Ms. Edmo’s Eighth and Fourteenth Amendment rights alone also establishes irreparable

injury. “It is well established that the deprivation of constitutional rights ‘unquestionably

constitutes irreparable injury.’” Melendres v. Arpaio, 695 F. 3d 990, 1002 (9th Cir. 2012)

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976); see also Doe v. Harris, 772 F. 3d 563, 583

(9th Cir. 2014); Norsworthy, 87 F. Supp. 3d at 1193 (“[T]he deprivation of [Plaintiff’s]

constitutional rights under the Eighth Amendment is itself sufficient to establish irreparable

harm.”); Fyock v. City of Sunnyvale, 25 F. Supp. 3d 1267, 1282 (N.D. Cal. 2014) (“[D]eprivation

of constitutional rights always constitutes irreparable harm.”); accord Stockman, No. 5:17-cv-

01799-JGB-KK, Dkt. No. 79, at 20 (finding that the stigmatic harm of transgender people being

seen as “less-than” as a result of the transgender military ban constituted irreparable harm

sufficient to warrant the grant of a preliminary injunction).

IV.    The Balance of Equities Weighs Strongly in Plaintiff’s Favor

       The balance of equities heavily favors Ms. Edmo’s requested relief. “Courts ‘must

balance the competing claims of injury and must consider the effect on each party of the granting

or withholding of the requested relief.’” Winter, 555 U.S. at 24 (quoting Amoco Production Co.,

480 U.S. 531, 542 (1987)).

       Plaintiff has established that she suffers irreparable harm, including unnecessary physical

and emotional suffering and denial of her constitutional rights, as a result of Defendants’ refusal

to provide her with medically necessary treatment for gender dysphoria, including sex-

reassignment surgery. This is more than sufficient to tip the balance of equities in Ms. Edmo’s

favor. See, e. g., Hicklin I, 2018 U.S. Dist. LEXIS 21516, at *44 (finding the “balance of harms

substantially weighs in favor of granting injunctive relief” because plaintiff demonstrated “she

continues to face irreparable injury absent relief . . . including the denial of her constitutional

rights”); Norsworthy, 87 F. Supp. 3d at 1193 ( “The balance of the equities favors [plaintiff’s]

requested relief. She has established that she is suffering and is likely to continue to suffer

unnecessary pain if she is denied SRS.”); Rhea v. Wash. Dep’t of Corr., 2010 U.S. Dist. LEXIS

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97705, at *37 (W.D. Wash. July 2, 2010) (“In light of the medical findings of these physicians

that [plaintiff] is suffering and will continue to suffer unnecessary pain, the undersigned finds

that the balance of hardships is greater for Ms. Rhea if the injunction were not granted.”).

       Defendants cannot cite any legitimate concerns that would outweigh the irreparable harm

Ms. Edmo is suffering. Rodde v. Bonta, 357 F. 3d 988, 999 (9th Cir. 2004) (balance of hardships

favored disabled plaintiffs, who would be deprived of necessary treatment and suffer increased

pain and medical complications without relief); Zepeda v. U.S. I.N.S., 753 F.2d 719, 727 (9th

Cir. 1983) (defendant “cannot reasonably assert that it is harmed in any legally cognizable sense

by being enjoined from constitutional violations”); Hernandez, 110 F. Supp. 3d at 957 (balance

of equities favored inmates given Ninth Circuit law holding “that the interest in protecting

individuals from physical harm outweighs monetary costs to government entities”).

V.     The Public Interest Requires an Injunction

       Finally, the public interest requires that Defendants be ordered to provide medically

necessary treatment to Ms. Edmo, including sex-reassignment surgery. See Melendres, 695 F. 3d

at 1002 (“[I]t is always in the public interest to prevent the violation of a party’s constitutional

rights.” (citations and internal quotations omitted)); see also United States v. Raines, 362 U.S.

17, 27 (1960) (“[T]here is the highest public interest in the due observance of all constitutional

guarantees.”). “In addition, ‘the public has a strong interest in the provision of constitutionally-

adequate health care to prisoners.’” McNearney v. Wash. Dep't of Corr., 2012 U.S. Dist. LEXIS

115802, at *44 (W.D. Wash. June 15, 2012) (quoting Flynn v. Doyle, 630 F. Supp. 2d 987, 993

(E.D. Wis. 2009)). Conversely, there is no public interest in forcing Ms. Edmo to continue to

suffer unnecessary and life-threatening harms during this litigation. See Fields, 653 F. 3d at 556;

Norsworthy, 87 F. Supp. 3d at 1194.

VI.    Plaintiff’s Requested Relief Complies with the Prison Litigation Reform Act

       The scope of Plaintiff’s proposed injunction conforms to the Prison Litigation Reform

Act’s requirement that a court “shall not grant or approve any prospective relief unless the court

finds that such relief is narrowly drawn, extends no further than necessary to correct the violation

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of the Federal right, and is the least intrusive means necessary to correct the violation of the

Federal right.” 18 U.S.C. § 3626(a)(2). “The Court shall give substantial weight to any adverse

impact on public safety or the operation of a criminal justice system.” Id. The Ninth Circuit has

clarified that the PLRA “has not substantially changed the threshold findings and standards

required to justify an injunction.” Gomez v. Vernon, 255 F. 3d 1118, 1129 (9th Cir. 2001).

       Here, an injunction granting Ms. Edmo “access to adequate medical care, including

referral to a qualified surgeon for sex-reassignment surgery, is narrowly drawn, extends no

further than necessary to correct the constitutional violation, and is the least intrusive means

necessary to correct the violation. ” Norsworthy, F. Supp. 3d at 1194-95. Further, “[t]here is no

evidence that granting this relief will have any adverse impact on public safety or the operation

of the criminal justice system.” Id. at 1195; see Fields, 653 F. 3d at 556.

                                          CONCLUSION

       For the foregoing reasons, Plaintiff requests the Court issue a preliminary injunction: 1)

ordering Defendants to provide her immediate access to necessary medical treatment, including

(a) sex-reassignment surgery; (b) reinstatement of spironolactone, or an equivalent type of care;

(c) access to gender-appropriate underwear, clothing, and commissary items; (d) any other

treatment a medical professional qualified to assess and treat gender dysphoria determines to be

medically urgent; and 2) prohibiting Defendants from (a) implementing their policy and/or

practice of blanket denial of access to such treatment for transgender persons incarcerated in the

Idaho Department of Corrections; and (b) disciplining or retaliating against Plaintiff for

expressing her gender identity, including wearing gender-appropriate underwear and clothing,

and adhering to female grooming standards with regards to makeup and hair styling.


Dated: June 1, 2018                            Respectfully Submitted,
                                               NATIONAL CENTER FOR LESBIAN RIGHTS
                                               FERGUSON DURHAM
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                                               By:    /s/ - Lori E. Rifkin
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 1st day of June, 2018, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:


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